Case 0:22-cv-60117-RS Document 1-2 Entered on FLSD Docket 01/17/2022 Page 1of1

IS 44 (Rev. 09/115

CIVIL COVER SHEET

The JS 44 cwil coversheet and the information contained herein neither replace nor supplenent the filing and service of
by local rules of court

This form, approved by the Judicial Conference of the United States inSeptember 1974, is required for the use of t

pleadngs or other panes as required by law, except as provided
1e Clerk of Court for the purpose of mitiating

the civil docket sheet. (SEF INSTRUCTIONS ON NENT PAGE OF THIS FORM)
I. (a) PLAINTIFFS DEFENDANTS
MELISSA GREEN, an individual, DERMACONCEPT:

(b) County of Residence of First Listed Plaintiff Lee
(EXCEPT IN US, PLAINTIFE CASES)
NOTE:

(C) Attorneys (fm Name, Address and Telephone Number} Attomeys ¢/f Known)

Benjamin H. Yormak (239)985-9691
27200 Riverview Center Blvd., Ste. 109
Bonita Springs, FL_ 34134

S, LLC, a Florida limited liability company,

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFE CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

If. BASIS OF JURISDICTION | ditace an “X” in One Box ¢ Inly) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an °X" in One Box for Planut})
(For Diversity Cases Only) and One Hox for Defendant)
TI 1 US Government 23. Federal Question PTF DEF PTF DEF
Plainuff (US Government Not a Party} Ciuzen of This State 01 J 1 Incorporated or Principal Place 9 404
of Business In This State
J 2. US. Government 34 Diversity Citizen of Another State O 2 FD 2 Incorporated and Principal Place Go 5 oO
Defendant tidteate Citizenship of Parties in Liem HI} of Business In Another State
Citizen or Subject of a O03 © 3 Foreign Nation 3 6 36
Foreign Country
IV. NATURE OF SUIT (izce an °V" in One Box Oni)
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
7 110 Insurance PERSONAL INJURY PERSONAL INJURY — | 625 Drug Related Seizure © 422 Appeal 28 USC 158 O 375 False Claims Act
TF 120 Marine 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 1 400 State Reapportionment
7 130 Miller Act 3 315 Airplane Product Product Liability 690 Other 28 USC 157 O 410 Antitrust
TF 140 Negouable Instrument Liability (J 367 Health Care? O 430 Banks and Banking
TF 150 Recovery of Overpayment {7 320 Assault, Libel & Pharmaceutical I PROPERI Y Rights O 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 1 460 Deportation
TD ISt Medicare Act 1 330 Federal Employers Product Liability O 830 Patent O 470 Racketeer Influenced and
1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal 840 Trademark Corrupt Organizations
Student Loans J 340 Marine Injury Product 480 Consumer Credit
(Excl. Veterans) 345 Marine Product Liability __ LABOR JAL SEC OF 490 Cable’Sat TV
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards 861 HIA (1395ff) (7 850 Securities/Commodities!
of Veteran’s Benetits 5 350 Motor Vehicle O 370 Other Fraud Act © 862 Black Lung (923) Exchange
I 100 Stockholders’ Suits “J 355 Motor Vehicle 371 Truth in Lending 7 720 Labor/Mgmt Relations C863 DIWC/DIWW (405(g)) | C1 890 Other Statutory Actions
J 190 Other Contract Product Liability O 380 Other Personal 3 740 Railway Labor Act O 864 SSID Title XVI 891) Agneultural Acts
TF 19S Contract Product Liability | 360 Other Personal Property Damage JV 751 Family and Medical [1 865 RST (405(2)) O $93 Environmental Matters
TF 196 Franchise Injury 385 Property Damage Leave Act O 895 Freedom of Infonnation
J 362 Personal Injury - Product Liability O 790 Other Labor Litigation Act
Med. Malpractice 791 Empl. Ret. Inc. O 896 Arbitration
| REAL PROPERTY CIVIL RIGHTS. PRISONER PETITIONS _ Security Act FEDERAL TAX SUITS] 1 899 Administrative Procedure
7 210 Land Condemnation & 440 Other Civil Rights (1 S10 Motions to Vacate 1 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
J 220 Foreclosure FD 441 Voting Sentence or Defendant) Agency Decision
TF 230 Rent Lease & Ejectment XX 442 Employment Habeas Corpus: 871 IRS—Third Party 950 Constintionality of
TF 240 Torts to Land F443 Housing 1 $30 General 26 USC 7609 State Statutes
TF 248 Tort Product Liability Accommodations 1 535 Death Penalty IMMIGRATION
J 290 All Other Real Property TF 445 Amer. w/Disabilities - | 540 Mandamus & Other | 462 Naturalization Application
Employment O 350 Civil Rights TF 463 Habeas Corpus -
J 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee
Other O 560 Civil Detainee - (Prisoner Petition)
J 448 Education Conditions of 1 465 Other Immigration
Confinement Actions
V. ORIGIN (Place an “X" in One Box Oniy) Transferred fi
%1 Original J 2 Removed trom J 3  Remanded from O 4 Reinstatedor TT 5 ee 6 Multidistrict
Proceeding State Court Appellate Court Reopened (specify) Litigation
Cre Vii .S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity)’
; -ATIC“r AY eeu le
VI. CAUSE OF ACTION Brief description of cause
Title VIl and FCRA for religious discrimination and unpaid wages
VI REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND S$ CHECK YES only if demanded in complaint

COMPLAINT:

UNDER F.R.C.P. 23

JURY DEMAND:

KYes No

VIII. RELATED CASE(S)

IF ANY

(See mstructions)

JUDGE

DOCKET NUMBER

DATE
January 14, 2022

FE ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

APPLYING IFP JUDGE

AMOUNT

MAG, JUDGE
